Filed 05/27/23                           Case 22-22056                   Doc 99



       1                         UNITED STATES BANKRUPTCY COURT

       2                         EASTERN DISTRICT OF CALIFORNIA

       3

       4   In re:
                                                 Case No. 22-22056-A-7
       5   IN RE DAVID MICHAL,

       6

       7                Debtor.

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                         Order Vacating Trial and Transferring Case
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      1          It is hereby ordered that:

      2          1.   Trial date of June 1, 2022, is vacated; and

      3          2.   This case shall be transferred to Christopher M. Klein.

      4    Dated: May 26, 2023
                  May 27, 2023
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                                                   ________________________________
      6                                            Fredrick E. Clement
                                                   United States Bankruptcy Judge
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Filed 05/27/23                                    Case 22-22056                                            Doc 99



      1
                              Instructions to Clerk of Court
      2                             Service List - Not Part of Order/Judgment
      3    The Clerk of Court is instructed to send the Order/Judgment or other court generated
      4    document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.
      5

      6    David R. Michal                                 Patricia Wilson
           263 Ironwood Lane                               405 Redcliff Drive, Ste. 100
      7
           Redding, CA 96003                               Redding, CA 96002
      8    Charles L. Hastings                             Office of the U.S. Trustee
           PMB 270, 4719 Quail Lakes Dr., Ste. G           Robert T. Matsui United States Courthouse
      9    Stockton, CA 95207                              501 I Street, Room 7-500
                                                           Sacramento, CA 95814
     10
           Bankruptcy Trustee (if appointed in the case)
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